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                          UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF CALIFORNIA
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12
     ANDRE KOVACS,                        CR. NO. 2:10-437-11 WBS
13
                    Petitioner,           ORDER
14
             v.
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     UNITED STATES OF AMERICA,
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                    Respondent.
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21                On October 20, 2016, petitioner Andre Kovacs filed a

22   Petition for Writ of Error Coram Nobis Pursuant to 28 U.S.C. §

23   1651.    (Docket No. 345.)   The United States shall file an

24   opposition to the petition no later than November 28, 2016.

25   Petitioner may then file a reply no later than December 28, 2016.

26   The court will hold oral argument on the petition on January 9,

27   2017 at 9:00 a.m.

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      Case 2:10-cr-00437-WBS Document 347 Filed 10/24/16 Page 2 of 2


1              IT IS SO ORDERED.

2    Dated:   October 24, 2016

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